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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

JUDY A. CROW, Individually
and as Executrix and Personal
Representative of the Estate of
JAMES M. CROW, Deceased,                              CIVIL ACTION

               Plaintiff                              FILE NO. - - - - -

   vs.

UNITED STATES OF AMERICA,

               Defendant

                           COMPLAINT FOR DAMAGES

         Comes now the Plaintiff, in her individual and representative capacities in

the above-style case, and files this Complaint, based on the Federal Tort Claims

Act, for damages against the Defendant by showing as follows:

                                           1.

         This is a medical malpractice action and is brought pursuant to the Federal

Tort Claims Act, 28 U.S.C. § 1346, 28 U.S. C. §2671 and 28 U.S.C. §2675.

Jurisdiction is properly within this Court. The substantive law of the State of

Georgia applies to this lawsuit.


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                                          2.

      Venue is proper in this district pursuant to 28 U.S.C. §1391(e).

                                          3.

      Plaintiff, JUDY A. CROW is a resident of Habersham County, Georgia, and

brings this action in her individual capacity as the lawful spouse of her deceased

husband, and in her representative capacity as the Executrix and personal

representative of the estate of decedent, JAMES M. CROW. Venue is therefore

proper in this Court.

                                          4.

      The United States may be served with process in accordance with Rule 4(i)

ofthe Federal Rules of Civil Procedure by serving a copy ofthe Summons and

Complaint on John A. Hom, the United States Attorney for the Northern District

of Georgia, by certified mail, return receipt requested at his office:

      John A. Hom
      United States Attorney for the Northern District of Georgia
      Office of the United States Attorney
      Richard B. Russell Federal Building
      75 Ted Turner Drive, S.W.
      Suite 600
      Atlanta, GA 30303-3308

and by serving a copy of the Summons and Complaint on Loretta E. Lynch,

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Attorney General of the United States, by certified mail, return receipt requested,

at the Attorney General's Office:

      ATTN: Civil Process Clerk
      Attorney General of the United States
      Department of Justice
      Room 5111
      lOth and Constitution Avenue, N.W.
      Washington, DC 20530

                                         5.

      The Plaintiff has been appointed as the Executrix of the Estate of her

deceased spouse, James A. Crow, who was an honorably discharged veteran of the

United States Armed Forces.

                                         6.

      Plaintiffs decedent, James M. Crow, consulted with and was evaluated and

treated by numerous physicians at the Atlanta Veteran's Administration Medical

Center (hereinafter sometimes referred to as the "VA hospital") in Decatur,

Georgia, on April 18, 2013 for cardiac catheterization.

                                         7.

      At all times relevant hereto, the staff physicians, including Bjoern Tennes,

M.D. and Peter Block, M.D., who evaluated and treated Plaintiffs decedent were



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agents and employees of the United States of America acting within the scope and

course of their employment so that the tortious acts and omissions alleged herein

are imputable to the Defendant, UNITED STATES OF AMERICA under the

doctrine of respondeat superior and the Defendant is vicariously liable therefor

(Exhibit "A" hereto) .

                                         8.

      On AprilS, 2013, James Milton Crow presented to the Atlanta VA Medical

Center in Decatur, Georgia for a cardiac catheterization. This procedure was

performed and evaluated by Bjoem Tennes, M.D. and Peter Block, M.D.

                                         9.

      Both physicians were affiliates of the Veterans Administration and were

employees and agents of the Veterans Administration during the time they were

administering to patient, James Milton Crow on the premises of the Veterans

Administration (Exhibit "A" hereto).

                                        10.

      The cardiac catheterization performed on April 8, 2013 showed the

following coronary abnormalities:

      (a)   A 60% to 80% occlusion of the left anterior descending artery;

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      (b)     Subtotal occlusion of the mid-circumflex coronary artery;

      (c)     A total occlusion (100%) of the right coronary artery with left to right

              collateral circulation.

                                          11.

      Based on the above findings, Drs. Tennes and Block diagnosed three vessel

coronary artery disease and moderate to severely diminished ventricular function

with a treatment recommendation that Mr. Crow undergo coronary artery by-pass

surgery.

                                          12.

      At the time of the above diagnosis the patient James Milton Crow had a

previous history of a cerebral aneurysm and Mr. Crow was advised to see a

neurosurgeon for evaluation of that condition and to get clearance from a

neurosurgeon that his condition would not prevent his having cardiac surgery.

                                          13.

      In accordance with those instructions, Mr. Crow visited an outside

neurosurgeon on June 4, 2013, and was cleared for heart surgery.

                                          14.

      He was seen at the VA hospital again on June 10, 2013.

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                                            15.

      Despite having been cleared by a neurosurgeon to have coronary artery by-

pass surgery, on June 4, 2013 and having another visit to the VA hospital on June

10, 2013, arrangements to schedule Mr. Crow's coronary by-pass surgery were

never made despite the fact it was imperative for him to have surgery as soon as

possible because of the severity of his heart disease, as recommended by Drs.

Tennes and Block.

                                            16.

      On September 23, 2013, Mr. Crow died as a result of"probable organic

heart disease" per his death certificate.

                                            17.

      Dr. Tennes, Dr. Block and other agents and employees of the Veterans

Administration violated the standard of care applicable under the facts and

circumstances surrounding their examination and treatment of Mr. Crow in the

following respects:

      (a)    Failing to schedule Mr. Crow for a follow-up appointment in the VA

             hospital's cardiac clinic/Department of Cardiology within two to

             three weeks following the cardiac catheterization which was

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            performed on April 8, 2013 in order to determine the status of the

            pending neurological evaluation with the goal of having his essential

            cardiac surgery performed as soon as possible; and

      (b)   Failing to promptly schedule the needed heart surgery following his

            clearance by the neurosurgeon which occurred June 4, 2013. Mr.

            Crow' s condition was such that immediate surgical intervention was

            medically necessary.

                                         18.

      The personnel in the Veterans Administration who where responsible for the

administrative responsibilities for caring for patients, scheduling appointments,

assuring follow-up treatments and providing for the continuity of care of the

patients violated the standard of care by not scheduling follow-up appointments

for Mr. Crow in order to be sure that the patient was seen as early as possible and

that definite plans were transmitted to Mr. Crow in order to avoid any delay in

performing his surgery based upon a lack of communication.

                                        19.

      The failure to promptly arrange and perform coronary by-pass surgery on

Mr. Crow in a timely manner increased his risk of sudden cardiac death and, in

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fact, was a substantial contributing cause of his death.

                                         20.

      The Defendant, by and through its agents and employees, were negligent

and its actions and omissions violated the standard of care otherwise followed by

practitioners of the healing arts generally under the like and similar circumstances

by failing to implement imperative appropriate treatment and therapy with

immediate coronary artery by-pass surgery.

                                         21.

      The negligent acts and omissions of the Defendant, through its agents and

employees, in the medical care, diagnosis and treatment of Plaintiffs decedent

was a deviation from the standard of care and this deviation and departure from

the standard of care described above proximately and directly caused and

contributed to the death of James M. Crow.

                                         22.

      As a result of the negligence of the Defendant, through its agents and

employees, as described above, the Plaintiff Judy A. Crow is entitled to recover

the full value of the life of her deceased spouse, James M. Crow.




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                                         23.

      As a further result of the negligence of the Defendant, through its agents

and employees, as set out above, the Plaintiff, as Executrix and Personal

Representative of the Estate of her deceased spouse, is entitled to recover for

medical and funeral expenses and for the conscious pain and suffering experienced

by Plaintiffs decedent prior to his death on September 23, 20 13.

                                         24.

      On or about September 14, 2015, the presented to the proper agent of the

Defendant, a claim for damages and injuries by submitting a Form 95 as

prescribed by the Department of Justice under 28 C.F.R. § 14.2 (see Exhibit "B"

and attached hereto).

                                         25.

      The Plaintiff filed separate claims in both her representative and individual

capacities to-wit: (1) for the special damages and pain and suffering of the

decedent, James M. Crow which accrued to her estate in the amount of Two

Hundred Thousand Dollars ($200,000); and (2) for the wrongful death of her

spouse, James M. Crow in the amount of Two Million Dollars ($2,000,000) (see

Exhibit "B" attached hereto). The claims properly set out the information

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required, including the nature and extent of Plaintiffs injuries and other damages.

The total amount of the claims submitted was Two Million, Two Hundred

Thousand Dollars ($2,200,000).

                                         26.

      On May 2, 2016 the Defendant denied the claim in writing and Plaintiff has

filed this complaint within six (6) months of the denial of the claim. All

administrative remedies have, therefore, been exhausted (Exhibit "C" hereto).

                                         27.

      In accordance with O.C.G.A. §9-11-9.1, the Plaintiff has filed herewith the

Affidavit of a qualified, licensed practicing physician, Philip A. Romm, M.D., who

practices cardiology and has done so continuously in the State of Georgia since

1992. The Affidavit attests to the medical negligence of the Defendant as set out

herein and alleges, in at lease one particular, negligent acts of the Defendant

(Exhibit "D" hereto).

      WHEREFORE, Plaintiff demands judgment against the Defendant in the

amount of Two Hundred Thousand Dollars ($200,000) for the conscious pain and

suffering suffered by Plaintiffs decedent and Two Million Dollars ($2,000,000)

for the wrongful death of decedent and the     ~ll   value of his life, plus the costs of

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this action, and such other relief as the Court may deed necessary and proper.




                                             s/Dennis T. Cathey
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CERTIFICATE OF SERVICE AND COMPLIANCE WITH LR 7.1 AND 5.1

      This is to certify that I have complied with the Local Rules for the Northern

District of Georgia - Atlanta Division - as to font, spacing and margins in

submitting this filing.




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